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                   UnitedStatesofAmerica                                 )
                                     v.                                  )             / -- u c- z
                           ERIC ROCA,                                    )   CaseNo.
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                                De
                                 fendantls)

                                                          CRIM INAL COM PLAINT

            1,thecomplainantin thiscase,statethatthe following istrue to the bestofmy knowledge and belief.
Onoraboutthedatets)of               Februaw 14toMarch17,201: inthecountyof                           Palm Beach             inthe
        southern         Districtof        Flori
                                               da       ,thedefendantts)violated:
                                                           --   - .- -



               CodeSection                                                     OffenseDescri
                                                                                           ption
    Title 21Uni
              ted States Code,                       Conspiracyto possesswi
                                                                          th intentto distribute more than 5 kilograms of
;Sections841(a)(1)and 846                            cocaine




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I
l
'           Thiscrim inalcomplaintisbmsed on thesefacts:
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ISee attached am davit




            W Continuedontheattachedsheet.                                                                        A

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                                                                                             Complainant'
                                                                                                        ssignature

                                                                                    SpecialAnentDeypn M.Robinson,DEA
                                                                                              Pri
                                                                                                nted nameandtitle

Swornto beforeme and signed in my presence.


Date: t/e./7 - /9
                                                                                                Judge'ssignature

City and state:       - -- -.   - -- -   w wslîqympv@ç-tujrtpri. - ------
                                             -       -                   -           ,%.MpqistqmqludqpDave Lee èannon
                                                                                   k!.                   -            .         -
                                                                                              Prlnted nameand title
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                        UNITED STATES v.ERIC ROCA
               AFFIDAVIT IN SUPPO RT OF CRIM INAL CO M PLAINT

         1,Devon M .Robinson,being duly sworn,depose and state as follows:

                   am a Special Agent (SA) with the Drug Enforcement
   Adm inistration (DEA)United States DepartmentofJustice,currently assigned to
   the M iam i, Florida, Field Division. I have been em ployed w ith the DEA since

   June 2008. I have attended a 14 week Basic Intelligence Research Specialist

   Training Schoolatthe DEA Training Academ y in Quantico,Virginia.In August
   2010,Iattended Basic AgentTraining Schooîat the DEA Training Academ y in

   Quantico,Virginia,w hich included an intensive program on drug identi
                                                                       fication

   and m ethods ofdrug trafficking,packaging and distribution. Ihave been involved

   in num erous investigations involving the distribution of controlled substances.I

   am currently assigned to the DEA W estPalm Beach District Office,Group Two,

   and am assigned to investigations dealing with aII aspects of im portation,

   m anufacturing, and distribution of illegal drugs,including cocaine and 'crack''

   cocaine.

         2.     I subm it that there is probable cause to believe that from on or

   about February 14, 2014 to on or about M arch 17, 2014, Eric ROCA did

   knowingly and w illfully conspire to distribute, and to possess with intent to

   distribute over5 kilogram s ofcocaine,in violation ofTitle 21,United States Code,

   Sections 846,841(a)(1)and 841(b)(1)(A)(ii).
         3.     This affidavit is based upon m y personal know ledge, review of

   repods, and inform ation obtained from other Iaw enforcem ent officials and

   civilians with know ledge ofthe events and evidence described herein. Because

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   this affidavit is being prepared for the Iim ited purpose of establishing probable

   cause, it does not purpod to include every fact know n by me about this

   investigation.

          4.    ln or around January 2013, agents began investigating the drug

   trafficking activities of Adam Vasquez and others, which culm inated in the

   indictm entofVasquez and num erous co-defendants in federalcase num ber 13-

   80192-CR-HURLEY,for conspiracy to possess with intentto distribute cocaine,

   cocaine base,and oxycodone. Follow ing arrests in thatcase in October2013, a

   confidentialsource (CS1) contacted Iaw enforcementto cooperate. CS1 had
   occasionally supplied cocaine to Vasquez, and was concerned that s/he had

   becom e a target of Iaw enforcem ent. As a result of CS1's cooperation, law

   enforcement becam e aware ofthe details ofthe drug trafficking organization of

   JoelVALDES,w ho had severaldistributors of kilogram quantities of cocaine,

   including Rogelio RAM O S. CS1 furtheradvised thatVALDES used a driverwho

   m ade regular trips to M cAllen, Texas, to pick up kilogram s of cocaine from

   VALDES'S supplier.

         8.     On or about February 14, 2014, agents conducting surveillance

   observed VALDES'S known driver arrive at RAM O S'S home, where the driver

   dropped offa Iarge bag with RAM OS. Agents knew thatthe driverhad recently

   returned from Texas,based on Sunpass records and surveillance Based on this
                                                                    .



   inform ation and the investigation to date, agents believed thatthe driverdropped

   offcocaine for RAM O S. Agents also knew through a source ofinform ation that




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   ROCA had been in touch with RAM OS thatday,and had asked forcocaine using

   coded Ianguage.
         9.     The nextday,RAM OS arranged to m eet RO CA. Atapproxim ately

   5:00 p.m .on February 15,2014,agents saw RAM OS arrive atROCA'S place of

   business,Jose R Auto,Iocated at 1930 South M ilitary Trailin W estPalm Beach,

   and m eet with RO CA in the parking area.After a short conversation, ROCA

   motioned foran employee to remove an unknown objectfrom the reardriver's
   side ofRAMOS'S vehicle,and take the objectinto the garage outofsurveillance's
   view.ROCA then entered the garage and RAMO S m oved his vehicle to the west

   side ofthe business,then entered the office outof surveillance's view RAMO S
                                                                         .




   rem ained inside for approxim ately 5 m inutes,then exited, entered his vehicle,

   and Ieft.ROCA exited the office shodly thereafterand placed an unknown object
   in the back seat of his car, and then re-entered the business Follow ing the
                                                                     .



   delivery to RO CA, RAM OS sold approxim ately 129 gram s of cocaine to an

   apprehended custom er. Based on m y training and experience, the shortnature

   of the visit and delivery to ROCA, and RAM OS'S subsequent sale to another

   individual,Ibelieve thatRAM OS dropped offcocaine forROCA     .




          10. O n M arch 17,2Q14,Iaw enforcementexecuted a search warrantat

   Jose R Auto,RO CA'S business. ROCA was not present Inside a back room
                                                            .



   where agents found ROCA'S personaleffects such as photographs and mail, law

   enforcem entfound the following,am ongstother items, in a filing cabinet:sm al!

   baggies,a scale,razor blades,a vacuum sealer, approxim ately 364 grams of

   cocaine, packaged in approxim ately ounce sized bags for sale, and United


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   States currency. Agents found a m oney counter on top ofthe filing cabinet,a

   KahrArm s .9 m m handgun in a box on a shelfin the sam e room ,and m atching

   am m unition in another box. Agents also found num erous heavy plastic

   packaging m ateriajs thathad been wrapped around brick Iike shapes,which still

   had cocaine residue on them , in a cooler in the room and bag in the room .

    Based on training and experience,the investigation to date,and the size ofthe

    bags, agents believed that the plastic packaging had been wrapped around

    kilogram sized bricks ofcocaine.
            Based on the foregoing,1subm itthatthere is probable cause to believe

    thatfrom on or about February 14,2014 to on or about M arch 17,2014,Eric

    RO CA conspired to distribute, and to possess w ith intent to distribute, 5

    kilogram s or m ore of cocaine, in violation of Title 21, Uni
                                                                ted States Code,

    Sections846,841(a)(1)and 841(b)(1)(A)(ii).
            FURTHER YO UR AFFIANT SAYETH NAUGHT.


                                                   =     >
                                       DEVON M .RO BINSON
                                       SPECIAL AGENT
                                       DRUG ENFO RCEM ENT ADM INISTRATIO N


    sw oRN TO AND suBscRlBED BEFO RE M E
    THls 19% AY oFAPRIL,2014AT
    w Es'r PALM BEACH ,FLORIDA .

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    H .DAVE LEE BRA NNON
    UNITED STATES M AG ISTRATE JUDGE



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                        UNITED STATES DISTRICT CO URT
                        SO UTHERN DISTRICT O F FLO RIDA

                           CaseNo./#->J> zzs
UNITED STATES O F AM ERICA

VS.


ERIC ROCA,

                   Defendant.
                                 /


                             CRIM INAL COVER SHEET


   1. Did this m atter originate from a m atter pending in the Nodhern Region of the
      United StatesAttorney's Office priorto October14,2003*
              Yes         X     No

   2. Did this m atteroriginate from a m atterpending in the CentralRegion ofthe United
      States Attorney's Office priorto Septem ber1,2007?
                 Yes X          No


                                        Respectfully subm itted,

                                       W IFREDO A.FERRER
                                       UNITED STATES AU O RNEY


                                 BY:
                                        usan R.O sborne
                                       AssistantUnited States Attorney
                                       CourtNo.A5500797
                                       500 South Australian Ave,Suite 400
                                       W estPalm Beach,Florida 33401
                                       TEL (561)209-1003
